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 8 Attorneys for Defendant

 9
                                   UNITED STATES DISTRICT COURT
10
                                           DISTRICT OF NEVADA
11

12   TERRY MARTINEZ,                                 )
                                                     )   Case No.: 2:21-cv-01129-NJK
13          Plaintiff,                               )
                                                     )   STIPULATION TO VOLUNTARY
14                  v.                               )   REMAND PURSUANT TO SENTENCE
                                                     )   FOUR OF 42 U.S.C. § 405(g) AND TO
15   KILOLO KIJAKAZI,                                )   ENTRY OF JUDGMENT FOR
     Acting Commissioner of Social Security,1        )   PLAINTIFF
16                                                   )
            Defendant.                               )
17                                                   )
                                                     )
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            IT IS HEREBY STIPULATED by and between the parties, through their undersigned
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     attorneys, and with the approval of the Court, that this action be remanded for further administrative
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     action pursuant to the Social Security Act § 205(g), as amended, 42 U.S.C. § 405(g), sentence four.
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            On remand, the Appeals Council will remand the case to an administrative law judge (ALJ) for
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25  Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to
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   Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted, therefore,
26 for Andrew Saul as the defendant in this suit. No further action need be taken to continue this suit by
   reason of the last sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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                                                                          3




 1 a new decision.

 2          The parties further request that the Clerk of the Court be directed to enter a final judgment in

 3 favor of Plaintiff, and against Defendant, reversing the final decision of the Commissioner.

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 5 Dated: October 20, 2021                        Respectfully submitted,

 6                                                ROHFLING & KALAGIAN, LLP
 7                                                /s/ Marc V. Kalagian
                                                  MARC V. KALAGIAN
 8                                                (*as authorized via email on October 19, 2021)
                                                  Attorney for Plaintiff
 9

10
     Dated: October 20, 2021                      Respectfully submitted,
11
                                                  CHRISTOPHER CHIOU
12                                                Acting United States Attorney
13                                                /s/ Allison J. Cheung
                                                  ALLISON J. CHEUNG
14                                                Special Assistant United States Attorney
                                                  Attorneys for Defendant
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           The Clerk's Office is further                    IT IS SO ORDERED:
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           INSTRUCTED to close this case.
20                                                          HON. NANCY J. KOPPE
                                                            UNITED STATES MAGISTRATE JUDGE
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22                                                                   October 20, 2021
                                                            DATED: ___________________________
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